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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                           Chapter 11

        Avon Place, LLC                                         Case no. 25-41368 (JMM)

                                    Debtor.
--------------------------------------------------------x




                                     PLAN OF REORGANIZATION




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                                         INTRODUCTION

                 Avon Place, LLC (“Debtor”), proposes this Plan of Reorganization to its

 Creditors. UPON CONFIRMATION, THIS PLAN SHALL BE A BINDING OBLIGATION

 BETWEEN AND AMONG THE DEBTOR AND EACH OF THE DEBTOR'S CREDITORS

 (AS SUCH TERMS ARE DEFINED BELOW).

                                           DEFINITIONS

                1.       As used in this Plan, the following terms will have the meanings

hereinafter set forth:

                 "Administrative Expense" Any cost or expense of administration of the

 Bankruptcy Case entitled to priority under section 507(a)(1) and allowed under section 503(b) of

 the Bankruptcy Code, and any fees or charges assessed against the Debtor’s Estate under Chapter

 123, Title 28, United States Code.

                 “Administrative Expense Claim" shall mean a Claim for payment of an

 Administrative Expense.

                 "Allowance Date" shall mean the date which a Disputed Claim becomes an

 Allowed Claim by Final Order.

                 “Allowed Amount” shall mean the amount of a Claim: (a) to the extent that a

 Proof of Claim is filed timely or, with leave of the Court late filed as to which (i) no party in

 interest files an objection or (ii) which is allowed by a Final Order; or (b) which is listed on the

 Debtor’s schedules or any amendments thereto but which is not listed therein as disputed,

 unliquidated or contingent.


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                "Allowed Claim" shall mean a Claim: (a) to the extent that a Proof of Claim is

filed timely or, with leave of the Court late filed as to which (i) no party in interest files an

objection or (ii) which is allowed by a Final Order; or (b) which is listed on the Debtor’s

schedules or any amendments thereto but which is not listed therein as disputed, unliquidated or

contingent.

                "Allowed Secured Claim" shall mean a Secured Claim to the extent it is an

Allowed Claim.

                "Allowed Unsecured Claim" shall mean an Unsecured Claim to the extent it is an

Allowed Claim.

                "Bankruptcy Case" shall mean this Chapter 11 bankruptcy case.

                "Bankruptcy Code" shall mean Title 11 of the United States Code (11. U.S.C. §

101 et. seq.

                "Bankruptcy Court" shall mean the Court as defined below.

                "Bar Date” shall mean ______________, 2025.

                "Cash" shall mean all cash and cash equivalents which evidence immediately

available funds in United States dollars.

                "Claim" shall have the meaning set forth in § 101(5) of the Bankruptcy Code.

                "Claimant" shall mean the holder of a Claim.

                "Confirmation Date" shall mean the date of the entry of the Confirmation Order.




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                  "Confirmation Hearing" shall mean the hearing pursuant to the Bankruptcy Code

Section 1128 before the Bankruptcy Court regarding the proposed confirmation of the Plan.

                  "Confirmation Order" shall mean the order of the Court confirming the Plan.

                  "Court" shall mean the United States Bankruptcy Court for the Southern District

of New York.

                  "Creditor" shall mean any entity that holds a Claim against the Debtor.

                  "Debtor" shall mean Avon Place, LLC.

                  “Disclosure Statement” shall mean the disclosure statement filed in connection

with the Plan.

                  "Disputed Claim" shall mean the whole or any portion of any Claim against the

Debtor to which an objection is timely filed as to which a Final Order has not been entered

allowing or disallowing such Claim or any portion thereof.

                  “Disputed Claim Reserve” shall mean Cash to be set aside by the Debtor on the

Effective Date in an amount equal to the amount that would have been distributed to the holders

of Disputed Claims had such Claims been deemed Allowed Claims on the Effective Date, or in

such other amount as may be approved by the Bankruptcy Court.

                  "Effective Date" shall mean the Date upon which the Confirmation Order is

entered, or such other date no later than 60 days after the Confirmation Order is entered as may

be practicable.

                  "Estate" shall mean the estate of the Debtor created upon the commencement of

the Bankruptcy Case pursuant to Section 541 of the Bankruptcy Code.

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               "Executory Contracts" shall mean "executory contracts" and "unexpired leases" as

such terms are used within Section 365 of the Bankruptcy Code.

               "Final Order" shall mean an order of a court that has not been reversed, modified,

amended or stayed, and as to which the time to appeal or to seek review or certiorari thereof has

expired, and as to which no appeal, review or rehearing is pending.

               “Impaired” shall mean not Unimpaired.

               "Interest" shall mean an existing ownership interest in the Debtor.

               "Interest Holder" shall mean a holder and owner of an existing Interest in the

Debtor.

               "Legal Rate" shall mean the applicable interest rate as set forth in 28 U.S.C.

§1961 as of the Petition Date.

               "Lien" shall mean a valid and enforceable charge against or interest in property to

secure payment of a debt or performance of an obligation.

               "Mortgagee” shall mean 44 Avon Road Credit LLC.

               "Petition Date" shall mean March 21, 2025.

               "Plan" shall mean this Plan of Reorganization, and any and all modifications

and/or amendments hereto.

               " Property" shall mean one hundred and eighty (180) condominium units owned

by the Debtor at the property known as Avon Place Condominiums and located at 44-46-47-48

Avonwood Road, Avon, CT 06001.



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                "Secured Claim" shall mean a Claim secured by a Lien on property included

within the Debtor’s Estate, or that is subject to setoff under Section 553 of the Bankruptcy Code,

to the extent provided in Section 506 of the Bankruptcy Code.

                "Secured Creditor" shall mean the owner or holder of a Secured Claim.

                “Unimpaired” shall mean not impaired under section 1124 of the Bankruptcy

Code.

                "Unsecured Claim" shall mean a Claim that is not a Secured Claim. An

Unsecured Claim includes, but is not limited to, a Claim for damages resulting from rejection of

any Executory Contract pursuant to Section 365 of the Bankruptcy Code, and does not include

Administrative Expense Claims.

                "Unsecured Creditor" shall mean the owner or holder of an Unsecured Claim.

                       CLAIMS CLASSIFICATION AND TREATMENT

                                                Class 1

               2.       Classification – Avon Connecticut real estate tax, water, sewer and other

liens. . Class 1 Claims total approximately $584,403.

               3.       Treatment -- Payment in full in Cash of Allowed Amount on the

Effective Date, plus interest at the applicable statutory rate as it accrues from the Petition Date

through the date of payment.

               4.       Voting – Unimpaired and deemed to have accepted the Plan.




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                                               Class 2

               5.       Classification – Allowed Secured Claims of the Mortgagee. The Debtor

estimates that principal, non-default contract rate of interest, amortization, advances and other

charges total approximately $28,100,785 as of the Petition Date.

               6.       Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date..

               7.       Voting – Unimpaired and deemed to have accepted the Plan.

                                               Class 3

               8.       Classification – Allowed Secured Claim of Altbanq Lending LLC. The

Debtor estimates that $3,000,000 is due as of the Petition Date secured by a mortgage on the

Property.

               9.       Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date.. The Debtor intends to refinance and prepay all amounts on the Effective Date.

               10.      Voting – Unimpaired and deemed to have accepted the Plan.




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                                               Class 4

               11.      Classification – Priority Claims under Sections

507(a)(2),(3),(4),(5),(6),(7) and (8) of the Bankruptcy Code. Claims total approximately $0.

               12.      Treatment – Payment in full in Cash of Allowed Amount on the Effective

Date, plus interest at the applicable statutory rate as it accrues from the Petition Date through the

date of payment.

               13.      Voting -- Unimpaired and deemed to have accepted the Plan.

                                               Class 5

               14.      Classification – General Unsecured Claims. Claims total approximately

$1,287,148.

               15.      Treatment – Payment in full in Cash plus interest through the payment

date on the Effective Date.

               16.      Voting – Unimpaired and deemed to have accepted the Plan.

                                               Class 6

               17.      Classification – Allowed Equity Interests .

               18.      Treatment – Interest Holders shall be required to contribute the funds

necessary to make Effective Date payments under the Plan and shall retain their Interests under

the Plan.

               19.      Voting – Impaired and entitled to vote to accept or reject the Plan.




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                          UNCLASSIFIED PRIORITY TAX CLAIMS

               20.      Priority tax Claims under Section 507(a)(8) of the Bankruptcy Code by

Debtor, if any, shall be entitled to payment in Cash on the Effective Date of Allowed Amount,

plus interest at the applicable statutory rate as it accrues from the Petition Date through the date of

payment.

                                 ADMINISTRATIVE EXPENSES

               21.      Allowed Administrative Expense Claims, including professional fees,

shall be paid in full in Cash on the later of the Effective Date and the date such Administrative

Expense Claim becomes Allowed or as soon as practicable thereafter, except to the extent that the

holder of an Allowed Administrative Expense Claim agrees to a different treatment; provided,

however, that Allowed Administrative Expense Claims representing obligations incurred in the

ordinary course of business or under Executory Contracts assumed by the Debtor shall be paid in

full or performed by the Debtor in the ordinary course of business or pursuant to the terms and

conditions of the particular transaction. The Debtor estimates that through the entry of a final

decree in this case, Allowed Administrative Expenses will total approximately 315,000.

               22.      Any outstanding U.S. Trustee fees and any statutory interest thereon shall

be paid in full in Cash on the Effective Date. Thereafter, United States Trustee fees and any

statutory interest thereon shall be paid until entry of final decree or until Bankruptcy Case is

converted or dismissed. The Debtors shall file quarterly post-Confirmation operating reports.




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                               MEANS FOR IMPLEMENTATION

               23.      Source of Funds – Plan payments will be paid by the Interest Holders,

cash on hand, and additional funds from a refinancing or sale of the Property.

               24.      Vesting -- Except as otherwise provided in the Plan, on the Effective Date

all assets and properties of the Estate shall vest in the Debtor free and clear of all Liens, Claims

and encumbrances and any and all liens, claims and encumbrances that have not been expressly

preserved under the Plan shall be deemed extinguished as of such date. Except as otherwise

provided herein, as of the Effective Date, all property of the Debtor shall be free and clear of all

Claims and Interests of Creditors, except for the obligations that are imposed under the Plan or by

a Final Order of the Bankruptcy Court.

               25.      Execution of Documents -- The Proponent shall be authorized to execute,

in the name of any necessary party, any notice of satisfaction, release or discharge of any Lien,

Claim or encumbrance not expressly preserved in the Plan and deliver such notices to any and all

federal, state and local governmental agencies or departments for filing and recordation.

               26.      Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               27.      Preservation of Claims -- All rights pursuant to sections 502, 544, 545

and 546 of the Bankruptcy Code, all preference claims pursuant to section 547 of the Bankruptcy

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Code, all fraudulent transfer claims pursuant to sections 544 and 548 of the Bankruptcy Code, and

all claims relating to post-Petition Date transactions under section 549 of the Bankruptcy Code

shall be preserved for the benefit of the Debtor’s estate, provided, however, that the Debtor shall

have sole authority for prosecuting any such claims. Because all creditors are being paid in full

under the Plan, the Debtor does not anticipate preference or fraudulent claims.

               28.      Stamp Tax -- Under the Plan, pursuant to Bankruptcy Code by section

1146(c), the issuance, transfer, or exchange of any security and the making or delivery of any

instrument of transfer under this Plan, (including any instrument of transfer executed in

furtherance of the sale contemplated by the Plan), shall not be subject to tax under any law

imposing a stamp tax or similar tax.

                 PAYMENT OF CLAIMS AND OBJECTIONS TO CLAIMS

               29.      The Debtor shall be disbursing agent under the Plan without a bond. The

Debtor reserves the right to file objections to claims in the event grounds exist to object to

particular claims, for a period of 60 days after the Effective Date. On the initial distribution date

and on each distribution date as may thereafter be necessary, the Debtor shall maintain an

undetermined claims distribution reserve for the holders of undetermined claims as of such date in

a sum not less than the amount required to pay each such undetermined claim if such claim was

allowed in full. To the extent that an undetermined claim becomes an Allowed Claim, the

distributions reserved for such Allowed Claim, shall be released from the undetermined claims

distribution reserve and paid to the holder of such Allowed Claim. After all the amounts of all

undetermined claims have been fixed, the balance of the undetermined claims distribution reserve

shall thereafter be paid in accordance with the Plan.


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                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               30.      Except for executory contracts and unexpired leases the Debtor rejects

before the Confirmation Date, all unexpired leases and executory contracts shall be assumed

under the Plan. In the event of a rejection which results in damages a proof of claim for such

damages must be filed by the damaged party with the Court within sixty (60) days after the

rejection date. All Allowed Claims arising from the rejection of any Executory Contract or

unexpired lease shall be treated as Unsecured Claims. Any Claim arising from the rejection of

any Executory Contract or unexpired lease not filed with the Court within the time period

provided herein shall be deemed discharged and shall not be entitled to participate in any

distribution under the Plan.

                          UNCLASSIFIED PRIORITY TAX CLAIMS

               31.      Priority tax Claims under Section 507(a)(8) of the Bankruptcy Code by

Debtor, if any, shall be entitled to payment in Cash on the Effective Date of Allowed Amount,

plus interest at the applicable statutory rate as it accrues from the Petition Date through the date of

payment.

                                 ADMINISTRATIVE EXPENSES

               32.      Allowed Administrative Expense Claims, including professional fees,

shall be paid in full in Cash on the later of the Effective Date and the date such Administrative

Expense Claim becomes Allowed or as soon as practicable thereafter, except to the extent that the

holder of an Allowed Administrative Expense Claim agrees to a different treatment; provided,

however, that Allowed Administrative Expense Claims representing obligations incurred in the

ordinary course of business or under Executory Contracts assumed by the Debtor shall be paid in

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full or performed by the Debtor in the ordinary course of business or pursuant to the terms and

conditions of the particular transaction. The Debtor estimates that through the entry of a final

decree in this case, Allowed Administrative Expenses will total approximately $315,000.

               33.      Any outstanding U.S. Trustee fees and any statutory interest thereon shall

be paid in full in Cash on the Effective Date. Thereafter, United States Trustee fees and any

statutory interest thereon shall be paid until entry of final decree or until Bankruptcy Case is

converted or dismissed. The Debtors shall file quarterly post-Confirmation operating reports.

                               MEANS FOR IMPLEMENTATION

               34.      Source of Funds – Plan payments will be paid by the Interest Holders,

cash on hand, and to the extent necessary, additional funds from a refinancing or sale of the

Property. Based on expressions of interest from potential lenders and purchasers, the Debtor

believes that it will be in a position to pre-pay all secured claims as well as pay all priority and

general unsecured claims on the Effective Date.

               35.      Vesting -- Except as otherwise provided in the Plan, on the Effective Date

all assets and properties of the Estate shall vest in the Debtor free and clear of all Liens, Claims

and encumbrances and any and all liens, claims and encumbrances that have not been expressly

preserved under the Plan shall be deemed extinguished as of such date. Except as otherwise

provided herein, as of the Effective Date, all property of the Debtor shall be free and clear of all

Claims and Interests of Creditors, except for the obligations that are imposed under the Plan or by

a Final Order of the Bankruptcy Court.

               36.      Execution of Documents -- The Proponent shall be authorized to execute,

in the name of any necessary party, any notice of satisfaction, release or discharge of any Lien,

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Claim or encumbrance not expressly preserved in the Plan and deliver such notices to any and all

federal, state and local governmental agencies or departments for filing and recordation.

               37.     Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               38.     Preservation of Claims -- All rights pursuant to sections 502, 544, 545

               39.     and 546 of the Bankruptcy Code, all preference claims pursuant to section

547 of the Bankruptcy Code, all fraudulent transfer claims pursuant to sections 544 and 548 of the

Bankruptcy Code, and all claims relating to post-Petition Date transactions under section 549 of

the Bankruptcy Code shall be preserved for the benefit of the Debtor’s estate, provided, however,

that the Debtor shall have sole authority for prosecuting any such claims. Because all creditors are

being paid in full under the Plan, the Debtor does not anticipate preference or fraudulent claims.

               40.     Stamp Tax -- Under the Plan, pursuant to Bankruptcy Code by section

1146(c), the issuance, transfer, or exchange of any security and the making or delivery of any

instrument of transfer under this Plan, (including any instrument of transfer executed in

furtherance of the sale contemplated by the Plan), shall not be subject to tax under any law

imposing a stamp tax or similar tax.




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                 PAYMENT OF CLAIMS AND OBJECTIONS TO CLAIMS

               41.      The Debtor shall be disbursing agent under the Plan without a bond. The

Debtor reserves the right to file objections to claims in the event grounds exist to object to

particular claims, for a period of 60 days after the Effective Date. On the initial distribution date

and on each distribution date as may thereafter be necessary, the Debtor shall maintain an

undetermined claims distribution reserve for the holders of undetermined claims as of such date in

a sum not less than the amount required to pay each such undetermined claim if such claim was

allowed in full. To the extent that an undetermined claim becomes an Allowed Claim, the

distributions reserved for such Allowed Claim, shall be released from the undetermined claims

distribution reserve and paid to the holder of such Allowed Claim. After all the amounts of all

undetermined claims have been fixed, the balance of the undetermined claims distribution reserve

shall thereafter be paid in accordance with the Plan.

                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               42.      Except for executory contracts and unexpired leases the Debtor rejects

before the Confirmation Date, all unexpired leases and executory contracts shall be assumed

under the Plan. In the event of a rejection which results in damages a proof of claim for such

damages must be filed by the damaged party with the Court within sixty (60) days after the

rejection date. All Allowed Claims arising from the rejection of any Executory Contract or

unexpired lease shall be treated as Unsecured Claims. Any Claim arising from the rejection of

any Executory Contract or unexpired lease not filed with the Court within the time period

provided herein shall be deemed discharged and shall not be entitled to participate in any

distribution under the Plan.


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                               RETENTION OF JURISDICTION

                43.     Retention of Jurisdiction. The Court shall have jurisdiction over all

matters arising under, arising in, or relating to each Debtor’s Bankruptcy Case to the fullest extent

permitted including, but not limited to, with respect to section 1142 of the Bankruptcy Code and

proceedings:

            •   To consider any modification of the Plan under Section 1127 of the
                Bankruptcy Code;

            •   To hear and determine all Claims, controversies, suits and disputes against
                the Debtor to the full extent permitted under 28 U.S.C. §§157 and 1334;

            •   To hear, determine and enforce all Claims and causes of action which
                may exist on behalf of the Debtor or the Debtor’s estate, including, but not
                limited to, any right of the Debtor or the Debtor’s Estate to recover assets
                pursuant to the provisions of the Bankruptcy Code;

            •   To hear and determine all requests for compensation and/or
                reimbursement of expenses which may be made;

            •   To value assets of the Estate.

            •   To enforce the Confirmation Order, the final decree, and all injunctions
                therein;

            •   To enter an order concluding and terminating the Bankruptcy Case;

            •   To correct any defect, cure any omission, or reconcile any inconsistency in
                the Plan, or the Confirmation Order;

            •   To determine all questions and disputes regarding title to the assets of the
                Debtor.

            •   To re-examine Claims which may have been Allowed or disallowed for
                purposes of voting, and to determine objections which may be filed to any
                Claims.


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                                     GENERAL PROVISIONS

               44.      Headings. The headings in the Plan are for convenience of reference only

and shall not limit or otherwise affect the meaning of the Plan.

               45.      Disputed Claims. The Debtor shall hold in escrow the distribution that

would be due on account of any Disputed Claim. No Disputed Claims shall be paid until such

Claim becomes an Allowed Claim.

               46.      Calculation of Time Periods. Bankruptcy Rule 9006 is incorporated

herein for purposes of calculating the dates set forth herein.

               47.      Other Actions. Nothing contained herein shall prevent the Debtor,

Interest Holders, or Creditors from taking such actions as may be necessary to consummate the

Plan, although such actions may not specifically be provided for within the Plan.

               48.      Modification of Plan. The Debtor may seek amendments or

modifications to the Plan in accordance with Section 1127 of the Bankruptcy Code at any time

prior to the Confirmation Date. After the Confirmation Date, the Debtor may seek to remedy any

defect or omission or reconcile any inconsistencies in the Plan or in the Confirmation Order, in

such manner as may be necessary to carry out the purposes and intent of the Plan

                                           INJUNCTION

               49.      Injunction. The Confirmation of this Plan shall constitute an injunction

of the Court against the commencement or continuation of any action, the employment of process,

or any act, to collect, recover or offset from the Debtor or its property or properties, any

obligation or debt except pursuant to the terms of the Plan.


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                          CLOSING THE BANKRUPTCY CASE

              Upon substantial consummation, the Debtor may move for a final decree to close

the Bankruptcy Case and to request such other orders as may be just.

Dated: New York, New York
       April 4, 2025

                                            Avon Place, LLC

                                     By:    s/ David Goldwasser, CRO


                                            BACKENROTH FRANKEL & KRINSKY, LLP
                                            Attorneys for Debtor


                                     By:    s/Mark A. Frankel
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